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                     IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF NEW MEXICO


UNITED STATES OF AMERICA,

      Plaintiff,

vs.                                                    No. 18-CR-03477 JB


DANIEL GONZALES, DANIEL MARTINEZ, and
EILEEN SANDOVAL,

      Defendants.

                             MOTION TO WITHDRAW

      Molly Schmidt-Nowara respectfully requests the Court enter an order allowing her

withdrawal as counsel for Defendant Eileen Sandoval. Shammara Henderson (Freedman Boyd

Hollander Goldberg Urias & Ward, P. A.) and Joe Shattuk will represent Defendant Eileen

Sandoval.

                                        Respectfully Submitted,

                                        /S/ Electronically signed 2.25.19
                                        Shammara H. Henderson
                                        Freedman Boyd Hollander
                                        Goldberg Urias & Ward, P.A.
                                        20 First Plaza, Ste. 700
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                               CERTIFICATE OF SERVICE

       I hereby certify that on February 26, 2019, I filed the foregoing document electronically

through the CM/ECF system, which caused all counsel of record to be served by electronic

means, as more fully reflected in the Notice of Electronic Filing.


                                              Respectfully Submitted,

                                              /S/ Shammara H. Henderson
                                              Shammara H. Henderson
                                              Attorney for Defendant




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